Exhibit 5
                                  JAMS ARBITRATION
                               CASE No. 1601002330




Elfreda Chan


Claimant


and


Twitter, Inc.; X Holdings I, Inc.; Elon Musk


Respondents




                   PROCEDURAL AND SCHEDULING ORDER No. 1
Pursuant to discussions during a Preliminary Conference held on September 14,
2023, this Order shall govern the procedures and scheduling of this arbitration:


   1.      Identity of Parties and Counsel
           Mike Dunford
           Kamerman Uncyk Soniker & Klein, P.C.
           1700 Broadway, 16th floor
           New York, N.Y. 10019
           Counsel for Claimant


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           Kaiser H. Chowdhry
           Morgan, Lewis & Bockius LLP
           1111 Pennsylvania Ave., NW
           Washington DC 20004
       Counsel for Respondents


2.    Arbitration Agreement
The parties’ arbitration agreement is set forth in the Dispute Resolution Agreement
executed by Claimant on March 29, 2021.


3.    Governing Rules and Law
(a) This Arbitration proceeding is governed by the JAMS Employment Arbitration
Rules & Procedures, effective June 1, 2021. The arbitration shall be administered
by JAMS.
(b) The merits are to be decided pursuant to California law and the FAA.


4.    Statements of Claims
Counsel have submitted their pleadings. If either party wishes to amend, please
do so by October 9, 2023. Rule 9.


5.    Discovery
The parties are to exchange all relevant and non-privileged documents relating to
the claims and defenses by October 16, 2023. Rule 17.




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After review of the documents produced, if either side wishes to request additional
documents, they may submit Requests for Production of Documents on November
6, 2023. The RFPs are limited to 10 and counsel are to agree on a date for prompt
production.


As discussed at the Preliminary Conference, each party may take three depositions.


There will be no requests for admission. However, counsel have requested some
interrogatories. Those will be limited to 10 per side.


As discussed, the discovery cut off date shall be July 15, 2024.


Please review the JAMS Arbitration Discovery Protocols at www.jamsadr.com when
considering appropriate discovery.


6.    Consider agreements to promote efficiency of case management
     a. The parties may agree to split the hearing time equally.
     b. The parties may agree to use written expert reports as the direct testimony
        of each expert.
     c. Counsel have agreed to use JAMS ACCESS, the JAMS electronic filing
        system. All letters to the Arbitrator regarding discovery disputes or other
        matters shall be placed securely on JAMS ACCESS.


     The Arbitrator is open to other suggestions to promote efficiency.




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7.    Protective Order
The parties shall enter into a Protective Order or Confidentiality Agreement and
are to submit it to the Arbitrator promptly.


8.     Motions
If either party plans to file a dispositive motion, please request the permission of
the Arbitrator with an explanation of why the motion will succeed and dispose of
or narrow the issues in the case. Please limit the requests and responses to three
(3) pages. Rule 18.


9.    Experts
If there are to be expert witnesses, counsel shall meet and confer and provide
prompt notice to the Arbitrator indicating the agreed timing of disclosures of
experts and exchange of reports.


If there are percipient witnesses who are expected to offer expert testimony, those
witnesses shall be identified in the witness lists to be submitted.


10.   Witness Lists
The parties shall exchange Witness Lists by placing them on JAMS ACCESS by the
close of business on November 6, 2024. The lists shall include a short (one or two
sentence) summary of the testimony to be offered by the witness and shall state
whether the witness is expected to testify live or by electronic means. These lists
may be supplemented by November 19, 2024.




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11.   Pre-Hearing Briefs and Hearing Exhibits
On November 25, 2024, counsel for both parties shall place on JAMS ACCESS their
arbitration briefs setting forth the facts and law on which they intend to rely with
respect to both liability and damages.


The parties shall exchange all documentary evidence they intend to offer at the
hearing, except for documents to be offered solely for impeachment, no later than
November 19, 2024. The parties shall cooperate in the preparation and pre-
marking of a single exhibit list, preferably in chronological order, for use at the
Arbitration Hearing.     Please pre-mark the exhibits with consecutive Arabic
numerals without indication of the party offering each.


Counsel shall provide the Arbitrator with electronic copies of the exhibits on a
thumb drive to be sent to an address provided by Ms. Hanley. Please do not send
binders of paper exhibits to the Arbitrator.


On the first day of hearings, counsel are to bring a set of exhibits for the use of
witnesses during their examinations.


Please identify on the joint exhibit list any exhibits as to which objection will be
made. The remainder will be deemed admitted.


12.   Subpoenas for Non-Party Witnesses
If either party wishes to have the Arbitrator issue a subpoena for the attendance of
non-party witnesses and for the production of their documents at the hearing,


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counsel shall provide the proposed subpoena to the Arbitrator on JAMS ACCESS no
later than 30 days prior to the Arbitration Hearing date.


13.   Demonstrative Exhibits
Any demonstrative exhibits to be used at the Arbitration must be shown to the
opposing party at least 5 days prior to the first day of arbitration hearings.


14.   Location of Arbitration Hearing
All hearings will take place at the San Francisco JAMS office in Two Embarcadero
Center, 15th floor.


15.   Arbitration Hearing Schedule
The Arbitration Hearings will take place on December 17-19, 2024, from 9:30 AM
to 5:30 PM. (Note: The dates discussed during the call were December 10-12,
2024 however the Arbitrator was already booked, and the dates above were
subsequently approved by counsel.)


16.   Order of Proof
At the Arbitration Hearing, the order of proof will be determined in accordance
with Rule 22.    Witnesses may be taken out of turn, either by agreement of the
parties or by the direction of the Arbitrator, as may be required by scheduling
constraints.


17.   Rules of Evidence
The admission of evidence shall be governed by Rule 22 (d).


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18.   Written Exchanges and Filings
To help expedite written exchanges of ordinary correspondence between the
parties and the Arbitrator, the parties may communicate directly with the
Arbitrator as follows:
(a)   All direct, written exchanges shall be placed on JAMS ACCESS.
(b)   The parties shall not participate in any form of ex parte communication
with an Arbitrator. Rule 14.
(c)   Counsel may submit briefs and other submissions by email and post on
JAMS ACCESS. If any brief exceeds 25 pages or has numerous exhibits, please
also submit hard copies by overnight delivery to the addresses to be furnished by
the Case Manager, Ms. Hanley.


19.   Court Reporter
The parties shall hire a court reporter and are to share those costs. Rule 22(k).


20.   The Arbitral Award
The Arbitrator will provide a reasoned Award no later than thirty (30) days after
the date of the close of the Arbitration Hearings or final submission of any post-
hearing briefs or arguments, whichever is later. Rule 24.


The process for closing arguments and/or briefing will be discussed and agreed
upon at the hearings.




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21.   Deadlines
The hearing dates and all deadlines herein shall be strictly enforced. This Order
shall continue in effect unless and until amended by subsequent order of the
Arbitrator.


Dated: September 14, 2023




Zela G. Claiborne, Arbitrator


JAMS Case Manager: Kathleen Hanley




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